Case 2:18-cv-03549-GRB-ST Document 39-11 Filed 03/01/19 Page 1 of 4 PageID #: 584




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    Case 2:18-cv-03549-GRB-ST Document 39-11 Filed 03/01/19 Page 2 of 4 PageID #: 585




       Testimony Delivered to the Assembly Standing Committee on Election Law:
    Assembly Subcommitee on Election Day Operations and Voter Disenfranchisement
                         Hearing on Monday, December 9, 2013
        Dr. Daniel Altschuler, Coordinator, Long Island Civic Engagement Table
    Introduction
            My name is Daniel Altschuler and I am the coordinator of the Long Island Civic Engagement Table.
    I also hold a doctorate in Political Science from the University of Oxford in England.
            Thank you to this subcommittee for accepting my testimony today regarding how to most
    effectively reform election administration in New York State.
            First, allow me to introduce the initiative that I represent today. The Long Island Civic Engagement
    Table (LICET) transforms the culture of civic participation and government accountability on Long Island.
    LICET does this by nurturing grassroots participation and leadership in working-class communities of
    color. LICET is a coalition led by community organizations that include the following:
         • Make the Road New York (MRNY) is the largest participatory immigrant organization in New
            York, with more than 14,000 members, with vibrant community centers in Bushwick, Brooklyn;
            Jackson Heights, Queens; Port Richmond, Staten Island; and Brentwood, Long Island.
         • New York Communities for Change (NYCC) is a coalition of working families in low and
            moderate income communities fighting for social and economic justice throughout New York State.
         • The Central American Refugee Center (CARECEN) is a non-profit providing immigration legal
            services and advocacy that assists the immigrant community on Long Island in its effort to become
            full participants in the community's life. With offices in Hempstead and Brentwood, CARECEN is
            the leading organization of its kind in Nassau and Suffolk counties.

            For the past three years, LICET has conducted large-scale voter registration, mobilization, and voter
    protection efforts. We have conducted Get Out the Vote operations targeting an average of more than
    20,000 voters, with three contacts per cycle, each of the past three election cycles. We have also registered
    approximately 12,000 voters in the past eighteen months. And we have operated voter protection and
    information hotlines each of the past three years.
            During the course of our work, we have identified various difficulties facing voters and undermining
    our democratic process.
            First, Long Island eligible voters have a woeful registration rate. According to our own voter
    database, there are at least half a million Long Island adult residents who are eligible to vote, but not
    registered. This is a particularly big problem for working-class communities of color, who are even more
    under-represented.
            Second, Long Island registered voters, like most New York voters, show very low turnout. For
    instance, both Long Island counties have had under 30 percent turnout of registered voters for the most
    recent high-stakes County Executive elections.
            Finally, our voter protection work has uncovered significant challenges posed by inappropriate
2




    Case 2:18-cv-03549-GRB-ST Document 39-11 Filed 03/01/19 Page 3 of 4 PageID #: 586
                                                                                                               2



    requests for identification at the polls, which I will discuss at the end of my presentation.
             Our work registering and mobilizing voters has shown us that voters are not inherently
    apathetic—instead, they face structural barriers to voting in a State that makes it tremendously hard to
    register to vote and to cast one’s ballot. These are a major part of the reason that New York has
    among the lowest voter turnout in the United States.

    Proposed Solutions to Improving Our Electoral Process and Increasing Registration and
    Participation Rates
             There are many things that New York State can and should do to improve our electoral system.
    The guiding principle should be to make registering to vote and casting a ballot as easy as possible for
    voters. Or, as Tova Wang, an elections expert at the organization Demos, has said: “…you always want
    to err on the side of being more inclusive, unless there’s some incredibly strong reason not to
    be…[T]he voting system should be accessible and inclusive, absent overwhelming countervailing data.”
             Several potential improvements to New York’s electoral system have been considered by the
    legislature. Those that follow deserve serious consideration in the upcoming legislative session. (For
    more information on these recommendations, please see the Hagedorn Foundation’s recent report,
    Strengthening Democracy through Voter Inclusion: Principles and Obstacles.)
             First, New York State should move to having one primary election date for all State and Federal
    elections. Since the courts have ruled that the Federal primary must be in June, the single primary date
    should be in June. This would meet the needs of Long Island voters, who are often confused about the
    many different election dates they must remember each year. This would be an excellent policy choice
    for increasing turnout and reducing government spending. At present, primary election turnout is
    abysmal—for instance, only approximately 30,000 voters cast ballots in the recent Nassau County
    Executive Democratic primary election, in a County with more than 370,000 registered Democrats.
    Furthermore, New York State spent approximately 100 million taxpayer dollars in 2012 to administer
    four elections (three primaries and one general). This is a preposterous waste of money that hurts the
    state’s financial bottom line. For voters and for our budget, we must move to one universal primary
    date.
             Second, New York State should automate voter registration with other agencies beyond the
    Department of Motor Vehicles (DMV). In 2012, Governor Cuomo took the laudable step of ordering
    the DMV to enable residents to register and update their registrations online. New York State should
    extend this to other state agencies, so that New York voters can register and update their registrations
    whenever they engage with State agencies.
             Third, New York should adopt Same-Day Voter Registration. Every year on Long Island,
    residents approach us to register in the final few weeks before the election. While we do register them,
    we have to disappoint them with the news that their registration will not be processed in time for them
    to participate in the election. This system makes no sense. Many registered and potential voters do not
    begin thinking about elections until the final run-up to Election Day. Our system should accommodate
    those who wish to register as late as Election Day, instead of disenfranchising them with arcane
    deadlines. From 1980 to 2012, states with same-day voter registration have averaged 68.6% voter
    turnout, compared with 58.3% in states without it.
             Fourth, New York should allow 16 and 17 year olds to pre-register when signing up for driving
    privileges. Youth voter registration and participation levels are even lower than those of the general
    population. Allowing 16 and 17 year olds to pre-register—for instance, when they apply for a driver’s
3




    Case 2:18-cv-03549-GRB-ST Document 39-11 Filed 03/01/19 Page 4 of 4 PageID #: 587
                                                                                                                   3



    license—would be an excellent way to get them into the system early. This has already been adopted in six
    states and Washington, D.C.
            Fifth, New York State should adopt in-person early voting. Every year, we encounter voters who
    cannot make it to the polls on Election Day because of work and/or family obligations. In-person early
    voting, which occurs in more than 30 states and has been shown to increase voter turnout, meets voters’
    desires and reduces pressures on Election Day for election administrators.
            Sixth, New York should adopt no-fault absentee voting. Nearly 30 other states already have such
    a system in place, which makes voting easier for all residents. This could be a critical tool to increase
    voter participation.
            All of these reforms would meet the appropriate standard for election reform: removing obstacles
    to voting to make it as easy as possible for every eligible citizen to register to vote and cast a ballot.

    Voter Suppression
             One final point: Currently, New York State has wisely opted not to adopt any of the onerous
    voter identification laws that suppress voting, particularly in communities of color. The legislature must
    continue to resist any and all efforts at voter suppression through onerous identification requirements.
             Unfortunately, through our voter protection hotline in 2012, advocates received several
    complaints from Long Island voters who were inappropriately asked for identification when trying to
    vote, particularly in communities of color, without legal grounds to do so. Moreover, when advocates
    called the Suffolk County BOE to address this issue, we received troubling responses. One BOE staff
    member told us that all first time voters must present identification when voting, clearly inconsistent with
    state law. Another BOE official began by giving the same response, but only recanted when an advocate
    reminded her of the law. Election officials and poll workers who are demanding identification
    inappropriately are frustrating a policy choice and breaking the law.
             To ensure that all Counties abide by New York State law, the State must make certain that poll
    workers do not make unlawful identification requests or intimidate voters. To best execute this, the State
    should mandate ongoing training of central BOE employees and poll workers on the following topics:
    when showing identification is, and is not, required, what types of identification are acceptable, the
    differences between proofs of residency and government-issued photo ID, non-partisan behavior and
    etiquette when interacting with voters, and lessons on how to interact with those with limited English
    proficiency. BOE staff and poll workers who have worked in previous elections must be re-trained in
    order to make sure they are up to date on the law. The training should be as transparent as possible, and
    the public should have access to training materials. Second, the State should provide for an effective,
    independent oversight mechanism for citizens to report problems when registering to vote and voting.
             Thank you again for the opportunity to testify here today. I would be happy to answer any
    questions you may have.
